     Case 3:23-cv-00959-BAS-KSC Document 18-2 Filed 01/15/24 PageID.107 Page 1 of 3



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       DESERT LAKE GROUP, LLC and CHRIS TIRRELL ARMSTRONG
 6

 7

 8                        IN THE UNITED STATES DISTRICT COURT
 9                 FOR THE SOUTHERN DISTRICT OF CALIFORNIA
10      THANE CHARMAN, an individual,       Case No. 23-cv-0959-BAS-KSC
11           Plaintiff,
                                            DEFENDANTS DESERT LAKE
12      v.                                  GROUP, LLC AND CHRIS TIRRELL
                                            ARMSTRONG’S REQUEST FOR
13      DESERT LAKE GROUP, LLC d/b/a        JUDICIAL NOTICE IN SUPPORT
        FIRST CLASS HERB TINCTURE,          OF MOTION TO DISMISS
14      d/b/a FIRST CLASS                   PLAINTIFF’S AMENDED
        HERBALISTCBD, d/b/a FIRST           COMPLAINT UNDER FRCP RULE
15      CLASSHERBALIST OILS, d/b/a          12(b)(6)
        USAHERBALIST OILS, BENSON
16      CHRISTOPHER HUNTER, an
        individual; CHRIS TIRRELL           Date:       February 26, 2024
17      ARMSTRONG, an individual;           Judge:      Cynthia Bashant
        DARIN EDWARD TOONE, an              Ct Rm:      12B
18      individual, JONATHAN KENT
        VIRGIN, an individual, NICHOLAS     NO ORAL ARGUMENT UNLESS
19      LANE JESSEN, an individual; and     ORDERED BY THE COURT
        RYAN DEAN HOGGAN, an
20      individual,
21           Defendants.
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                              REQUEST FOR JUDICIAL NOTICE
     Case 3:23-cv-00959-BAS-KSC Document 18-2 Filed 01/15/24 PageID.108 Page 2 of 3



 1           Defendants Desert Lake Group, LLC and Chris Tirrell Armstrong
 2     (“Defendants”) respectfully requests that, pursuant to Federal Rules of Evidence
 3     201, this Court take judicial notice of the following matters, facts, and documents
 4     listed below and in support of Defendants’ Motion to Dismiss Plaintiff’s Amended
 5     Complaint under for Fed. R. Civ. P. 12(b)(6).
 6           Exhibit 1: A true and correct copy of Desert Lake Group, LLC’s Chapter 11
 7     Voluntary Petition for Non-Individuals, United States Bankruptcy Court for the
 8     District of Utah in the matter In Re Desert Lake Group, LLC aka 4BUSH
 9     HOLDINGS, LLC, Bankruptcy Case No. 20-22496;
10           Exhibit 2: A true and correct copy of the United States Bankruptcy Court for
11     the District of Utah’s Order Confirming Debtor’s Plan Under Subchapter V of
12     Chapter 11 in the matter In Re Desert Lake Group, LLC aka 4BUSH HOLDINGS,
13     LLC, Bankruptcy Case No. 20-22496; and
14           Exhibit 3: A true and correct copy of the United States Bankruptcy Court for
15     the District of Utah’s Final Decree, Order Closing Case, and Order Terminating and
16     Discharging the Subchapter V Trustee in the matter In Re Desert Lake Group, LLC
17     aka 4BUSH HOLDINGS, LLC, Bankruptcy Case No. 20-22496.
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20     Dated: January 15, 2024       CALDARELLI HEJMANOWSKI PAGE & LEER LLP
21
                                     By: /s/ Lee Hejmanowski
22                                     Lee E. Hejmanowski
                                       Micheal L. Wright
23
                                      Attorneys for Defendants DESERT LAKE GROUP,
24                                    LLC and CHRIS TIRRELL ARMSTRONG
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                             REQUEST FOR JUDICIAL NOTICE
     Case 3:23-cv-00959-BAS-KSC Document 18-2 Filed 01/15/24 PageID.109 Page 3 of 3


                                       EXHIBIT INDEX
 1

 2      EXH. NO.                        DESCRIPTION                             PAGES
 3           1      Desert Lake Group, LLC’s Chapter 11 Voluntary                1-4
                    Petition for Non-Individuals, United States Bankruptcy
 4
                    Court for the District of Utah in the matter In Re Desert
 5                  Lake Group, LLC aka 4BUSH HOLDINGS, LLC,
                    Bankruptcy Case No. 20-22496
 6

 7           2      Order Confirming Debtor’s Plan Under Subchapter V of         5-53
                    Chapter 11 in the matter In Re Desert Lake Group, LLC
 8                  aka 4BUSH HOLDINGS, LLC, Bankruptcy Case No.
 9                  20-22496

10           3      Final Decree, Order Closing Case, and Order                 54-58
                    Terminating and Discharging the Subchapter V Trustee
11
                    in the matter In Re Desert Lake Group, LLC aka
12                  4BUSH HOLDINGS, LLC, Bankruptcy Case No.
                    20-22496
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                             REQUEST FOR JUDICIAL NOTICE
